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                          EXHIBIT “A”
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    TRULINCS 05963122 - WILLIAMS, ANTHONY TROY - Unit: HON-D-B


    FROM: 05963122
    TO: Isaacson, Larsrobert; Thomas, Rosey
    SUBJECT: MOTION FOR BOND
    DATE: 02/06/2019 08:30:15 AM


    2-6-19 @8:30 a.m. Mr. Isaacson please attach the documents to this motion that I spoke to you about today and email you
    about on 2-4-19. Thanks

    MOTION FOR BOND

      COMES NOW, defendant by and through the undersigned Common Law Counsel„ Private Attomey General Anthony
    Williams, who is a servant of the Most High Yahweh Elohim and Yahshua the Mahshyah and submits this Motion For Bond
    pursuant to the Eighth Amendment of the U.S. Constitution, The Bail Reform Act of 1984, Title 18 USC 3142, 18 USC 3145(b),
    18 USC 3164, and Federal Rules of Criminal Procedure, Rule 46 and hereby submits the reasons bond is due. As grounds
    therefor, the undersigned states the following:

   1. On February 15, 2017 the undersigned was arrested and held on an indictment for mail and wire fraud while awaiting trial in
   Florida.

    2. The undersigned demanded a speedy trial upon learning of the bogus federal charges filed against the defendant.

   3. The undersigned was taken into custody of the U.S. Marshals on July 21, 2017 and transported to the Honolulu Federal
   Detention Center on September 21, 2017. Trial was set for September 29, 2017 and was continued over the objection of the
   undersigned to October 17, 2017.

   4. The trial again was continued over the objection of the undersigned to November 21, 2017.

    5. The trial again was continued over the objection of the undersigned to May 15, 2018.

   6. On March 28, 2018, Ronald Johnson filed a bogus Superseding Indictment which added the undersigned mother to the
   indictment which was done for no other purpose but to delay the trial because the trial was rapidly approaching and the
   government had no intentions on taking the case to trial. This practice has been repudiated by the Eleventh Circuit which
   stated, "Trial court was required to decide whether the government delayed the indictment to gain a tactical advantage." United
   States v. Foxman, 87 F. 3d 1220 (11th Cir. 1996). The Ninth Circuit ruled on this issue when it stated, "Delay to arraign co-
   defendant violated Speedy Trial." United States v. Hardeman, 249 F. 3d 826 (9th Cir. 2001)

   7. The court granted another trial extension over the objection of the undersigned and re-scheduled the trial to commence on
   December 16, 2018 (which was impossible because the 16th fell on a Sunday so it proves that there was no intention to have
   the trial), which was another 6 months continuance.

   8. The government file a bogus Mental Competency motion questioning the mental competency of the undersigned that the
   undersigned may be mentally insane or suffering from some mental defect which prevented the undersigned from
   understanding the charges against him and the court terminated the December 16, 2018 trial date until the completion of the
   bogus evaluation.

   9. After the undersigned was evaluated and deemed competent (which was never in question but used as another ploy and
   legal tactic to delay the trial and further unlawfully pre-trial incarcerate the undersigned, counsel for the undersigned mother
   filed for a continuance which was unlawfully granted and extended now for another year until January 21, 2020.

   10. As of December 2019, the hold on the undersigned has been lifted and the undersigned is now considered pre-trial status.

   11. Under 18 USC Section 3142 (b) of the Bail reform Act of 1984, a defendant must be released on personal recognizance or
   unsecured personal bond unless such release will endanger the safety of any other person or the community.

   12. Under Section 3142(9)(c) if the judicial officer determines (THROUGH FACTS AND EVIDENCE) that the defendant is a
   flight risk, the judicial officer MUST CHOOSE the LEAST RESTRICTIVE condition that will assure defendants appearance and
        safety of the community.


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13. Under section 3142(c)(2) it precludes a judicial officer from imposing a financial condition that results in the pre-trial
detention of the person.

14. Under section 3142(g) it set forth the factors for the judicial officer to consider in determining whether to release the
defendant. These factors must be considered whenever release is sought whether under section 3142 (pending trial), section
3143 (pending appeal or sentence), section 3144 (material witness) or section 3148(b) (violation of release condition). The
factors are:
   1) the nature and circumstances of the offense charged, including whether the offense is a crime of violence or involves a
narcotic drug; •
   2) the weight of the evidence against the person;
   3) the history and characteristics of the person, including-
      A) the person's character, physical and mental condition, family ties, employment, financial resources, length of residence
in the community, community ties, past conduct, history relating to drug or alcohol abuse, criminal history, and record
concerning appearance at court proceedings; and
      B) whether at the time of the current offense or arrest, the person was on probation, on parole, on other release pending
trial, sentencing, appeal, or completion of sentence for an offense under Federal, State of local law; and
   4) the nature and seriousness of the danger to any person or the community that would be posed by the person's release.
The Seventh Circuit has wamed that the trial court MAY NOT disregard ANY of these factors. United States v. Torres, 929 F.
2d 291, -92 (7th Cir. 1991). The Ninth Circuit has said that of the four factors, the weight of the evidence against the defendant
is the least important. United States v. Gebro„ 948 F. 2d 1118, 1121 (9th Girl 991); United States v. Winsor, 785 F. 2d 755,
757 (9th Cir. 1986). The D.C. and Third Circuits stated that findings should be based on EVIDENCE presented at the detention
hearing, not on extraneous information. United States, v. Vartis, 785 F. 2d 327, 329 (D.C. Cir.)

15. Under section 3142(f)(i) it provides that a detention hearing shall be held on the governments motion in a case involving (1)
a crime of violence; (2) an offense carrying a penalty of life imprisonment or death; (3) a federal drug offense carrying a penalty
of ten years or more; or (4) any felonly following convictions for two or more of the above three offenses, two or more
comparable state or local offenses, or a combination of such offenses. Although some courts have detained defendants in
circumstances other than those listed in section 3142(f) the First, Third, and Fifth Circuits, the only circuits to address the
question directly, held that defendants MAY NOT BE DETAINED unless they fit into one of the four categories described above.
By this provision alone the undersigned must be released.

16. The undersigned has been pre-trial detained on the instant charges for 2 years without being taken to trial for reasons not
attributable to the undersigned but to the government and the attorneys of co-defendants. The Ninth Circuit has already ruled
on this issue when it stated, "continuances for co-defendants violated Speedy Trial Act." United States v. Hall, 181 F. 3d 1057
(9th Cir. 1999)

17. The undersigned filed a Motion To Sever to prevent the further delay of the trial because of co-defendant's attorneys and
the motion was unlawfully denied causing immeasurable and irreparable harm to the undersigned and grossly violating his
speedy trial right on the account of co-defendant's attorneys.

18. There is a presumption in favor of release on non-monetary conditions for any person who is granted pre-trial release
unless such person is charged with a dangerous crime. A person shall be released on monetary conditions if it is determinded
that such monetary conditions are necessary to assure the presence of the person at trial or other proceedings, to protect
community from risk of physical harm to persons or to assure the presence of the accused at trial.

19. The crime charged in the present case is not enumerated as a "crime of violence" pursuant to 18 USC 3156(a)(4) and there
are no victims and certainly no danger to the community.

20. The undersigned is not a danger to any one nor the community nor is the undersigned a flight risk as the charges are
considered white collar crimes and the undersigned has been looking forward to expose this corrupt system in Hawaii and is not
a flight risk as the undersigned does not have a passport nor any intentions of fleeing.

21. In 2013 the undersigned was falsely charged with rape and child molestation and was facing life imprisonment if convicted.
The undersigned was given a bond and did not flee but appeared at every court hearing until the undersigned proved his
innocence and had the case dismissed on September 3,2014. (See Exhibit 1)

22. The undersigned is not facing life imprisonment with the current charges and because the undersigned doesn't have a
criminal record (with the exception of the bogus conviction in Florida which is currently in appeal and shortly will be reversed),
the undersigned is not facing any serious time even if he was somehow unlawfully convicted (which is not possible unless the
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jury is rigged as it was in Florida), so there would be no reason for the undersigned to flee which would add 5 years to his
charges for fleeing prosecution.

23. According to 18 USC 3164, once a defendant has been designated by the government as being of high risk, the
government has 90 days to take the defendant to trial and if they fail to take defendant to trial then defendant is entitled to a
bond. 18 USC 3164(c) states,"No detainee, as defined in subsection (a), shall be held in custody pending trial after the
expiration of such ninety-day period required for the commencement of his trial." This clearly has been grossly violated by the
government and the undersigned should be immediately released.

24. Defendant has been pre-trial incarcerated for 2 years and the court just extended the trial date for another year which would
constitute 3 year pre-trial incarcerartion because of a court conflict with a co-defendants attorney's other trial which is a violation
of the speedy trial provision of the Sixth Amendment to the U.S. Constitution. The Tenth Circuit ruled on this issue when it
stated, "Continuance because of court conflict violated Speedy Trial Act." United States v. Johnson, 120 F. 3d 1107 (10th Cir.
1997)

25. Extending a trial for over a year after it has already been unlawfully continued 6 times is unconstitutional and quite frankly
discriminatory and malicious. The Ninth Circuit Court has also ruled on this issue when it stated, "112 day continuance was not
justified." United States v. Lloyd, 125 F. 3d 1263 (9th Cir. 1997). The speedy trial exclusion provision of 3161(h) is
unconstitutional and violates the speedy trial rights of defendant using the color of law to continue to delay the trial for reasons
not attributable to the undersigned.

26. The undersigned should be release on the same conditions his mother and co-defendant Anabel Cabebe were released on
so that the undersigned can properly prepare for trial (although we all know that there will be no trial because the government
knows that it can't win at trial and is the reason for all of the continuances).

27. This continuance has further caused hardship on the undersigneds witnesses who had already paid for non-refundable
flights and hotel accommodations and now the trial has been moved once again which will invariably cause any witnesses at
this point to be hesitant of paying for accommodations to attend the trial when it has constantly been delayed creating a
financial hardship for them and putting a strain on their employment because of having to make several previous provisions to
take off work only to not have to take off work which causes problems with their employer for scheduling reasons and the
uncertainty of their presence or absence from work during the time of the trial so that the employer can make provisions to
cover their shifts in their absence.

 WHEREFORE, for the foregoing reasons the undersigned is entitled to bond and be immediately released.
Executed this 4th day of February 2019

Righteously submitted,

Anthony Williams
Anthony Williams
Private Attorney General
Counsel to the Poor (Psa. 14:6)
Common Law Counsel (28 USC 1654, First Judiciary Act of 1789, section 35)
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